                                EXHIBIT 4
                           SUMMARY OF INVOICES




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                                        EXHIBIT 4
                                    SUMMARY OF INVOICES




               INVOICE NUMBER            INVOICE DATE       AMOUNT DUE

               503(b)(9) Claim
               210129905                      5/18/2021        $214.88
               210156949                      5/19/2021       $1,057.39
               210156953                      5/19/2021       $4,568.39
               210261430                      5/24/2021        $883.64
               210320194                      5/24/2021       $6,708.73
               210387113                       6/2/2021        $183.31
                                               Subtotal:     $13,616.34

               Postpetition Claim
               210474750                       6/8/2021          $54.34
                                               Subtotal:         $54.34

                     Total Administrative Priority Claim:    $13,670.68




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